
670 S.E.2d 231 (2008)
In re E.S.
appealed by Juvenile.
No. 396P08.
Supreme Court of North Carolina.
December 11, 2008.
Daniel R. Pollitt, Assistant Appellate Defender, for E.S.
Chris Sinha, Assistant Attorney General, for State of NC.
Prior report: ___ N.C.App. ___, 663 S.E.2d 475.

ORDER
Upon consideration of the petition filed on the 3rd day of September 2008 by Juvenile in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of December 2008."
